Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 1 of9

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM

Authorized by Order of the Court, Civil Action No. 10 mdI 2179 Rec. Doc.

(Copies of said Order having also been filed in Civil Action No. 2:10-cv-03895-CJB-SS)

MDL 2179

SECTION: 4

JUDGE CARL BARBIER

CLAIM IN LIMITATION -F PLAINTIFFICLAIMANT PROFILE FORM

Last Name First Name

By submitting this ‘document, lam asserting a claim In the Matter of Seacor Holdings, inc, et al, CA 2: 10- cV-
03895-CJB-SS, and by so doing adopt the Complaint filed in Robin et al v. Seacor Marine LLC et al, CA No. 10-
1986 (“B4 Bundle”) in MDL No. 2179.

Middle Name/Maiden

Phone Number

E-Mail Address

Address

INDIVIDUAL CLAIM

City / State / Zip

BUSINESS CLAIM

Employer Name

Business Name

Job Title / Description

Type of Business

Address

Address

City / State / Zip

City / State / Zip

Last 4 digits of your Social Security Number

Attorney Name

Last 4 digits of your Tax ID Number

Firm Name

Address

City / State / Zip

Phone Number

Claim filed with BP? YES NO

If yes, BP Claim No.:

Claim Type (Please check all that apply):
Damage or destruction to real or personal property
Earings/Profit Loss
Other:

E-Mail Address

Claim Filed with GCCF?: YES

If yes, Claimant Identification No.:

+ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action

No, 2:10-CV-03895-CJB-SS.

4

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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~ EXHIBIT

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Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 2 of 9

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred, For claims relating to fishing of any type, Include the type and location of fishing grounds at issue.

2. For individuals employed in the oil industry and oil services industry who claim to have suffered economic losses as a result of
the spill, state the nature and amount of the alleged loss, list the name and address of all employers from 2008 to the present
and complete authorization forms for each.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 3 of 9

Please check the box(es) below that you think apply to you and your claims:

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10.

Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing,
shrimping, crabbing or oystering.

Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or
charter
fishing business who earn their living through the use of the Gulf of Mexico.

Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service,
repair and
supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Bank, financial institution, or retail business that suffered losses as a resuit of the spill.

Person who utilizes natural resources for subsistence.

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to the
Plaintiff (or his attorney if applicable) fiting this form.

Claimant or Attorney Signature

Print Name

Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM"

Authorized by Order of the Court, Civil Action No. 10 mdl 2179 Rec. Doc.
(Copies of said Order having also been filed in Civil Action No. 2:10-cv-3896-CJB-SS)

MDL 2179 SECTION: J JUDGE CARL BARBIER

CLAIM IN LIMITATION -- - PLAINTIFF/CLAIMANT PROFILE. FORM.

By submitting this document, I am asserting a “claim in the Matter of Seacor Holdings, inc, et al, CA 2: 10- cV-
03896-CJB-SS, and by so doing adopt the Complaint filed in Robin et al v. Seacor Marine LLC et al, CA No. 10-
1986 (“B4 Bundle”) in MDL No. 2179.

Last Name | First Name Middle Name/Maiden Suffix
Phone Number E-Mail Address
Address City / State / Zip

INDIVIDUAL CLAIM BUSINESS CLAIM

Employer Name Business Name

Job Title / Description Type of Business

Address Address

City / State / Zip City / State / Zip

Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
Attorney Name Firm Name

Address / City / State / Zip

Phone Number E-Mail Address

Claim filed with BP? YES NO Claim Filed with GCCF?; YES NO
If yes, BP Claim No.: if yes, Claimant Identification No.:

Claim Type (Please check all that apply):

Damage or destruction to real or personal property
Earnings/Profit Loss
Other:

1 This form should be filed with the US. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 2:10-CV-03896-CJB-SS.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 5 of9

Brief Description:

4. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2. For individuals employed in the oil industry and oil services industry who claim to have suffered economic losses as a result of
the spill, state the nature and amount of the alleged loss, list the name and address of all employers from 2008 to the present
and complete authorization forms for each.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 6 of 9

Please check the box(es) below that you think apply to you and your claims:

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10.

Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing,
shrimping, crabbing or oystering.

Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or
charter
fishing business who earn their living through the use of the Gulf of Mexico.

Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service,
repair and
supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Bank, financial institution, or retail business that suffered losses as a result of the spill.

Person who utilizes natural resources for subsistence.

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to the
Plaintiff (or his attorney if applicable) filing this form.

Claimant or Attorney Signature

Print Name

Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 7 of 9

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 mdl 2179 Rec. Doc.
(Copies of said Order having also been filed in Civil Action No. 2:10-cv-03897-CJB-SS)

MDL. 2179 SECTION: Jo JUDGE CARL BARBIER _

CLAIM. IN LIMITATION -- PLAINTIFFICLAIMANT PROFILE FORM |

By submitting this document, lam asserting a claim In the Matter of Seacor Holdings, Inc, et al, CA 2: 10-cv-
03897-CJB-SS, and by so doing adopt the Complaint filed in Robin et al v. Seacor Marine LLC et al, CA No. 10-
1986 (“B4 Bundle”) in MDL No. 2179.

Last Name First Name Middle Name/Maiden Suffix
Phone Number E-Mail Address
Address City / State / Zip

INDIVIDUAL CLAIM BUSINESS CLAIM

Employer Name Business Name

Job Title / Description Type of Business

Address Address

City / State / Zip City / State / Zip

Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
Re

Address City / State / Zip

Phone Number E-Mail Address

Claim filed with BP? YES NO Claim Filed with GCCF?: YES NO

If yes, BP Claim No.: If yes, Claimant Identification No.:

Claim Type (Please check all that apply):

Damage or destruction to real or personal property
Earnings/Profit Loss
Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 2:10-CV-03897-CJB-SS.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 8 of 9

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2. For individuals employed in the oil industry and oil services industry who claim to have suffered economic losses as a result of
the spill, state the nature and amount of the alleged loss, list the name and address of all employers from 2008 to the present
and complete authorization forms for each.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 1898-1 Filed 04/08/11 Page 9 of 9

Piease check the box(es) below that you think apply to you and your claims:

1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing,
shrimping, crabbing or oystering,

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or
charter
fishing business who earn their living through the use of the Gulf of Mexico.

4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service,
repair and
supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

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Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

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Bank, financial institution, or retail business that suffered losses as a result of the spill.

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10. Person who utilizes natural resources for subsistence.

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to the
Plaintiff (or his attorney if applicable) filing this form.

Claimant or Attorney Signature

Print Name

Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

